UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

 

)
UNITED STATES OF Al\/[ERICA )
)
v. )
) Docket No.: 0101 l:l 5CRlOl46-2
TONY BERRY , )
)
Defendant. )
_)
FIRST ADDENDUM TO THE

DEFENDANT’S SENTENCING MEMORANDUM

I. INTRODUCTION

The defendant, Tony Berry, respectfully Submits this addendum to assist the

Court in its sentencing

II. LETTERS OF SUPPORT

Mr. Ben'y submits these addition four letters of support
1. Michelle C. Thornas
2. Taneekia Brice
3. Barbara C. Bodley, and

4. Kirnani Carleton

Dated:

Septernber 5, 2017

Respectfully submitted,
TONY BERRY
By his Attorney,

/s/ Michael P. Doolin
Michael P. Doolin, Esq.

50 Redfleld Street, Suite 296
Dorchester, MA 02122
(617) 436-3819

BBO# 546116

Michelle C. Thomas
116 ijer Street, Apt. 23
Boston, MA 02126

Friday, September 01, 201?

Honorable Judge Nathaniel M. Gorton

U. S. District Judge, District of Massachusetts
l Courthouse Way

Boston, MA 02210

RE: Tony Berry, September 06, 2017

Dear Honorable Judge Nathaniel M. Gorton,

My name is Michelle Thomas and l work as an academic advisor at a university in Waltham. l
have worked in higher education for over 12 years, assisting Students in different capacities from
under resourced schools and neighborhoods pursue their dream of obtaining a college education
to change the course of their futures.

I am respectfully writing this letter to you today on behalf of Tony Berry, asking for leniency in
his sentencingl I feel compelled and obligated to write this letter on Tony’s behalf because I not
only consider him friend but family as well. l have had the opportunity to know Tony for a very
long time and my hope is to give to you some insight into the consistent character of the man that
I have known for over 22 years now.

I am currently 34 years old and met Tony as a lZ-year-old middle school girl at the McCormack
Middle School in Dorchester, MA. Tony and I were both involved in sports, especially
basketball and immediately shared in that interest 0ver the years Tony and l have remained
friends and have formed a family bond In many ways, we grew up together in the same
community striving for same things. The man that I have had the opportunity to know over the
years is fun and outgoing and is also there to cheer you up and make you laugh. Growing up
Tony was the person that would always organize for all of us to go out to eat at restaurants or
play a competitive and fun family game of monopoly. Tony is protective of his family and has
always had the biggest heart

Tony"s first-born son, Caiden, is my cousin so I have had the pleasure to also witness him as a
father from his son’s birth to present Being a mother myself, my young son shares a strong bond
with his big cousin Caiden. Tony has consistently Shown himself to be a dedicated father who
has an undeniable love and devotion to his son. Over the years he has often expressed, verbally

and through his actions, that he Wants to create an environment and experience for his son that he
didn’t have.

In my work and my personal life experience, I see many students with and without the support of
one or both of their parents. l Witness the challenges first hand that low income first generation
students face without a parent present and active in their education process early starting from
elementary school. With this said I truly believe that allowing Tony the opportunity sooner to
shine in one of the areas where he is best, which is being an active father and family member,
Will not only benefit his son greatly, but will also ground and continue to drive Tony in a positive
direction Tony’s physical absence and support for his family and friends is truly felt and missed

Thank you for taking the time to read and consider this letter.

Sincerely,

Michelle Thomas

 

<nikawoodsBZ@_gmail.com>

Subject: Re: Character letter

Addressed to The Honorable Judge Nathanlel Groton:

l‘vty name is Taneekia Brice and l am writing this letter on
behalf ivlr. Tony Berry to request leniency with his
sentencing

l have known Mr. Berry for my entire life and although we
are first cousins l feel as if he is more like a brother to
me. Throughout my entire life he has always been there
to guide me through lite‘s trials and has served as a role
model to me in many ways. He's always provided me
great advice when needed and most importantly has
always been able to put a smile on my face when
circumstances in my life haven‘t seemed promising

One instance that comes to mind is when my
Grandparents passed away This period ot time was
emotionally trying for my entire family as our
Grandmother, the matriarch of our tarnity1 passed away
on lvlother's Day and a few months later our Grandfather
passed away on New rear's Eve. | was 13 years old at
the time, Tony was about 15 years old, and ljust
remember feeling devastated. l can still recall to this day
the despair that l felton both occasions and each time l
vividly remember Tony being there reminding me that l
was not alonel

l remember sitting there feeling like | was now all alone in
the world, crying my eyes out and then felt this hand on
my shoulder consoling me. He assured me that although it
was painful to not have our Grandparents with us. we now
had gained not one but two angels watching over our
family

That is the Tony that l know to this day- A nurturing and
compassionate personality willing to stand up and help in
any way that he can. Tony is a loving brother, uncle,
nephew_. son and grandson. l speak for my entire family
when | say that his warm and cheertu| smile is missed at
all of our family functions

Lastly Your Honor. | would like to thank you for giving me
the opportunity to express to you the lvlr. Tony Berry that l
know l know that Tony understands that every action
comes with it’s repercussions but t ask you to please take
into consideration his time served and the fact that we as
his family are willing and able to be the support system he
will need to help him rehabilitate his |ife.

 

To: Judge Nathanie| Groton
Date: August 30, 2017
From: Barbara C. Bodley

FlE: Tony Berry

To the honorable Judge Nathaniel Groton,

My name is Barbara Bodley, Tony and l have a ten year old son together.

l have known Tony Berry for twenty plus (20+) years. Tony and | began dating in
summer of 1996 after the death of my mother. Shortly thereafter, my grandmother
passed away and Tony has always been one of my biggest emotional supporters

During our relationship Tony Was actively involved within the community, he worked at
the El|a J. Baker House working with adolescents. He coached a youth basketball team
that traveled domestically to play other teams. He also mentored several of the team
players and youth in the community |Vloreover, Tony has been a inspiration in his son’s
life from birth to this present time.

Tony has a remarkable relationship with his son, Caiden. He has been very active in
Caiden’s life by being involved in extra-curricular activities, weekend outings and his
education To date, Tony calls Caiden at every opportunity, constantly motivating him;
giving Caiden ten (10) words a week from the dictionary to learn the spelling and
definitions and testing him at the end of the week.

Your honor, the experience |’ve had with Tony Lavell Berry, leads me to believe if given
another opportunity Tony will become a productive member of society; therefore l pray
for the mercy of the court’s leniency in his sentencing

Flespectfully Subrnitted,
~?§ ‘_%`

..J say

Barbara Bodley

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Subject: Letter for Tony Berry
From: Kimani Carleton (djpain617@gmail.com)
To: mdoolinatlaw@yahoo.com;

Date: Tuesday, September 5, 2017 3:34 PlVl

To Whom lt May Concern,
I‘rn writing to you on behalf of Tony Berry. I've known Tony for 30years. We grew up in the Four

Corners area together. He has always been the type of person who'd give you his last dime, or the shirt
off of his back. He's mentored a lot of the neighborhood children Many of whom grew up to be

Sincerely,
Kimani Carleton

Sent from my iPhone

)fl 9/5/'2017. 5:02 PM

